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 Academic Transcript of:                  PHAM,TONYTUAN                                                                                            64252453                   E184334101-1           25-Jun-2021           Page    1

                                          STUDENTNAME                                                                                        STUDENTID NUMBER                CONTROL NUMBER              DATE ISSUED




                                                                                              UNIVERSITY OF MICHIGAN
                                                                                                                        -
                                                                                  OFFICEOF THE REGISTRAR ANN ARBOR, MI 48109-1382
                                                                                                                                                                                           University Registrar


                        UNIVERSITY OF MICHIGAN DEGREESAWARDED                                                               Fall1988                 Undergraduate Engineering        Grade     Hours     MSH     CTP      MHP
                                                                                                                              ECON           201     Principle Econ I                 A-          4.00     4.00    4.00    14.80
School/College:              Engineering
                                                                                                                              EECS           213     Network Analysis                 C+          4.00     4.00    4.00     9.20
Major:                       Computer Engineering
                                                                                                                              EECS           280     Prog&Data Struct                 A           4.00     4.00    4.00    16.00
Degree:                      Bachelor of Science in Engineering in Computer Eng, Cum Laude
                                                                                                                              MATH           216     Intro Diff Equat                 A-          4.00     4.00    4.00    14.80
Awarded:                     23-AUG-1991
                                                                                                                             MECHENG         101     Intro to Cad                     W           2.00     0.00    0.00     0.00
                                                                                                                            Term Total                                   GPA: 3.425              18.00    16.00   16.00    54.80

                          BEGINNING OF UNDERGRADUATERECORD
                                                                                                                            Winter    1989           Undergraduate Engineering        Grade     Hours     MSH     CTP      MHP
                                                                                                                              ENGR           400     Co-Op Educ Engr                  ##          0.00     0.00    0.00     0.00
Transfer Course Credit Accepted towards                                          MSH       CTP           MHP                Term Total                                                            0.00     0.00    0.00     0.00
Undergraduate Engineering                                                          0.00   28.00           0.00

                                                                                                                            Spring/Summer 1989       Undergraduate Engineering        Grade     Hours     MSH     CTP      MHP
Fall 1987               Undergraduate Engineering           Grade     Hours      MSH      CTP           MHP                  ENGR         400        Co-Op Educ Engr                  ##          0.00     0.00    0.00     0.00
  ENGR            103   PC Fortran                          A           3.00      3.00     3.00          12.00              Term Total                                                            0.00     0.00    0.00     0.00
 GEOSCI           108   Min Mod World                       B           1.00      1.00     1.00           3.00
 MATH             l16   Anal Geom-Cale II                   A           4.00      4.00     4.00          16.00              Fall   1989              Undergraduate Engineering        Grade     Hours     MSH     CTP      MHP
 PHYSICS          140   General Phys I                      A           3.00      3.00     3.00          12.00                EECS           270     Logic Design                     A           4.00     4.00    4.00    16.00
  PHYSICS         141   Elem Lab I                          A           1.00       1.00    1.00           4.00                EECS           300     Math Sys Anal                    A           3.00     3.00    3.00    12.00
 UMOVE            136   Tae Kwon Do                         P           0.00      0.00     0.00           0.00                EECS           303     Alg Foun Comp Eng                B+          3.00     3.00    3.00     9.90
Term Total                                  GPA: 3.916                 12.00     12.00    12.00          47.00
                                                                                                                              EECS           313     Basic Elect Ckts                 A           4.00     4.00    4.00    16.00
                                                                                                                            Term Total                                   GPA: 3.850              14.00    14.00   14.00    53.90
Winter    1988          Undergraduate Engineering           Grade     Hours      MSH      CTP           MHP
 ENGLISH          125   Intro Composition                   C+          4.00      4.00     4.00           9.20              Winter    1990           Undergraduate Engineering        Grade     Hours     MSH     CTP      MHP
 MATH             215   Anl Geom-Cale III                   C+          4.00      4.00     4.00           9.20               EECS            360     Dyn Sys&Modeling                 B           4.00     4.00    4.00    12.00
 PHYSICS          240   General Phys II                     A-          3.00      3.00     3.00          11.10               EECS            370     Intro Computr Org                B-          4.00     4.00    4.00    10.80
 PHYSICS          241   Elem Lab II                         C-           1.00     1.00     1.00            1.70              EECS            381     Assembl Lang Prog                A-          3.00     3.00    3.00    11.10
Term Total                                  GPA: 2.600                 12.00     12.00    12.00          31.20
                                                                                                                              STATS          412     Intro Prob Stat                  A           3.00     3.00    3.00    12.00
                                                                                                                            Term Total                                   GPA: 3.278              14.00    14.00   14.00    45.90
Spring/Summer 1988      Undergraduate Engineering           Grade     Hours     MSH       CTP           MHP
 ENGR             400   Co-Op Educ Engr                     ##          0.00      0.00     0.00           0.00
Term Total                                                              0.00      0.00     0.00           0.00
                                                                                                                                                                                                                                       Case 3:19-cr-00014-JAM Document 175-8 Filed 11/08/21 Page 2 of 4




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                                          STUDENTNAME                                                                            STUDENTID NUMBER                   CONTROLNUMBER              DATE ISSUED




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                                                                                                                                                                                 University Registrar


Fall 1990              Undergraduate Engineering         Grade   Hours    MSH       CTP      MHP
                                                                                                                                                BEGINNING OF GRADUATE RECORD
  EECS          380    Data Struct& Algor                B+        4.00     4.00     4.00    13.20
 EECS           400    Lin Sp Matrix Thy                 A-        3.00     3.00     3.00    11.10
                                                                                                                Fall 1991                 Rackham                           Grade     Hours     MSH     CTP    MHP
 EECS           442    Computer Vision                   A         3.00     3.00     3.00    12.00
                                                                                                                 EECS             478     Switch & Seq Sys                  B           3.00     3.00   3.00   15.00
 EECS           484    Database Mgt Sys                  B-        3.00     3.00     3.00     8.10                                                      .



                                                                                                                 EECS             590     Eecs Intr Semmar                  S           1.00     0.00   1.00    0.00
  MECHENG       282    Elem Mfg Syst                     B         3.00     3.00    3.00      9.00
                                                                                                                Term Total                                   GPA: 5.000                 4.00     3.00   4.00   15.00
Term Total                                  GPA: 3.337            16.00   16.00    16.00     53.40

                                                                                                                Winter    1992             Rackham                          Grade     Hours     MSH     CTP    MHP
Winter   1991          UndergraduateEngineering          Grade   Hours    MSH       CTP     MHP
                                                                                                                Withdrew         01/15/1993
 EECS           470    Computer Architec                 C-        4.00     4.00     4.00     6.80
                                                                                                                 EECS             483     Compiler Constr                   W           4.00     0.00   0.00    0.00
 EECS           492    Intro Art Intell                  A-        4.00     4.00     4.00    14.80
                                                                                                                 EECS             579     Digital Sys Test                  W           3.00     0.00   0.00    0.00
 EECS           499    Directed Study                    B+        3.00     3.00     3.00     9.90
                                                                                                                Total Elected Term Hours                                               7.00      0.00   0.00    0.00
 IOE            333    Human Performance                 B         3.00     3.00     3.00     9.00
 TCHNCLCM       498    Tech Writing                      IA-       3.00    3.00      300     11.10              Rackham
Term Total                                  GPA: 3.035            17.00   17.00    17.00     51.60              Cumulative Total                             GPA: 5.000                          3.00   4.00   15.00
Undergraduate Engineering
Cumulative Total                            GPA: 3.344                    101.00   129.00   337.80
                                                                                                                            END OF GRADUATE RECORD
Winter   1989          Academic Outreach                 Grade   Hours    MSH       CTP     MHP                                         End of Transcript
 ENGR           400    Co-Op Educ Engr                   ##       0.00     0.00     0.00      0.00                                      Total Number of Pages   2
Term Total                                                        0.00     0.00     0.00      0.00

Academic Outreach
Cumulative Total                                                            0.00     0.00     0.00




            END OF UNDERGRADUATERECORD
                                                                                                                                                                                                                        Case 3:19-cr-00014-JAM Document 175-8 Filed 11/08/21 Page 3 of 4




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 ACCREDITATION
                                                                                                                                                                                        -
 The three campuses of the University of Michigan are accredited by the North Central Association of Colleges and Schools Higher
                                                                                                                                       Learning Commission. Many of the departments and programs within the University                                            are also
 accredited by various agencies. Detailed information about these agencies and the accreditation process
                                                                                                         is available from the Dean's office of each academic unit.


 CALENDAR
The University          of Michigan operates under the trimester calendar. A unit of credit                              is   a   semester hour.

ELIGIBILITY FOR ENROLLMENT
Unless otherwise indicated,           a   student   is   eligible to enroll.

EXPLANATION OF COLUMN HEADINGS
HRS       =   Elected Hours/Units; MSH         =    GPA Semester Hours; CTP = Credit Toward Program; MHP = GPA Honor Points.

ABBREVIATIONS FOR CREDIT CONDITIONS
AGC       =                                                                                           =
              Approved for Graduate Credit; CBE = Credit by Exam; DCO                                     Degree Credit Only;            NDC = Not        for Undergraduate degree credit; NFC          =   Not for Credit;
NGD = Not         for Graduate Degree Credit; REP = Repetition.

STUDY ABROAD
Study abroad credit         is   considered upper level unless otherwise noted.

LETTER GRADES
9.0 GRADING SCALE (A+ through B                          =   Pass unless otherwise noted)
A+    =            =                                         =             =             =            =             =
          9.0; A       8.0; A- = 7.0; B+ = 6.0; B                5.0; B-       4.0; C+       3.0; C       2.0; C-       1.0; D+     =   0.0; D   =             =            =
                                                                                                                                                     0.0; D-       0.0; E       0.0.

4.4   GRADING SCALE
A+    =            =                                         =             =             =            =             =
          4.4; A       4.0; A- = 3.7; B+ = 3.4; B                3.0; B-       2.7; C+       2.4; C       2.0; C-       1.7; D+     =   1.4; D   =             =            =
                                                                                                                                                     1.0; D-       0.7; E       0.0.

4.3   GRADING SCALE
A+    =            =                                         =             =             =            =             =               =
          4.3; A       4.0; A- = 3.7; B+ = 3.3; B                3.0; B-       2.7; C+       2.3; C       2.0; C-       1.7; D+         1.3; D   =   1.0; D-   =            =
                                                                                                                                                                   0.7; E       0.0.

4.0   GRADING SCALE
A+    =            =                                                                     =                          =
          4.0; A       4.0; A- = 3.7; B+ = 3.3; B = 3.0; B- = 2.7; C+                        2.3; C = 2.0; C-           1.7; D+     =   1.3; D   =             =            =
                                                                                                                                                     1.0; D-       0.7; E       0.0.

ADDITIONAL GRADES
EX = EXCELLENT;GD = GOOD;            PS = PASS; LP = LOW PASS; F = FAIL (EX, GD, PS and LP = Pass)

CR    =
       Credit; NC = No credit; S = Satisfactory; U = Unsatisfactory; P = Pass; F = Fail
I = Incomplete (I OR IL followed by a letter grade indicates an initial incomplete that has been given
                                                                                                       a final grade.); NR = No grade reported;
## = Grade not submitted; ED = Unofficial drop; VI = Audit or Visit; W = Withdrew from course; Y = Extended multi-term
                                                                                                                              class
M = Marginal; IPL = Incomplete Permanent Lapse; NRC = No Record COVID, a non-passing grade used to address a global pandemic

COMPUTATIONS FOR TERM OR CUMULATIVE GPA: Term GPA                                                             =   Term MHP/TermMSH; Cumulative GPA                               =                                                                 =
                                                                                                                                                                                       Cumulative MHP/Cumulative MSH; Example: 42.0 MHP/12.0 MSH       3.5 GPA.
                                                                                                                                                                                                                                                                             Case 3:19-cr-00014-JAM Document 175-8 Filed 11/08/21 Page 4 of 4
